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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO

Civil Action No. 20-cv-02599-RBJ


FIVE POINTS MANAGEMENT GROUP, INC., a California corporation,

Plaintiff,

v.

CAMPAIGN, INC., a Delaware corporation; and
BRADLEY SEWELL, an individual,

Defendants.


     STIPULATION CONCERNING PROTOCOL FOR CONDUCTING
         REMOTE DEPOSITIONS; AND [PROPOSED] ORDER


       Plaintiff Five Points Management Group, Inc. (“Plaintiff”) and Defendants

Campaign, Inc. (“Campaign”) and Bradley Sewell (“Sewell,” together with

Campaign, the “Defendants,” together Plaintiff, the “Parties,” and each a “Party”),

by and through their respective counsel, jointly stipulate (the “Stipulation”) to the

following protocol for conducting depositions via remote means in the above-

captioned matter:

       1.     Depositions in the case may be conducted remotely upon agreement

of the Parties using videoconference technology.
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      2.     The Parties agree that court reporter employees may attend each

remote deposition to video record the deposition, troubleshoot any technological

issues that may arise, and administer virtual breakout rooms, if being used.

      3.     The Parties agree that these video-recorded remote depositions may

be used at a trial or hearing to the same extent that an in-person deposition may be

used at a trial or hearing, and the Parties agree not to object to the use of these

video recordings on the basis that the deposition was taken remotely. The Parties

reserve all other objections to the use of any deposition testimony at trial.

      4.     The deponent, court reporter, and counsel for the Parties will each

participate in the videoconference deposition remotely and separately. Each person

attending a deposition shall be visible to all other participants at all times when the

deponent is testifying on the record, their statements shall be audible to all

participants, and they should each strive to ensure their environment is free from

noise and distractions. If more than one attorney will attend the deposition for a

party, counsel for that party shall designate one of the attendees as lead counsel

who will defend or question the witness.

      5.     No counsel shall initiate a private conference, including without

limitation through text message, electronic mail, any other app, or the chat feature

in the videoconferencing system, with any deponent while a question is pending.
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      6.     During breaks in the deposition, the Parties may use virtual breakout

rooms (if any) provided by court reporter, which simulates a live breakout room

through videoconference. Conversations in the breakout rooms shall not be

recorded and shall be deemed privileged and confidential.

      7.     Remote depositions shall be recorded by stenographic means

consistent with the requirements of Federal Rule of Civil Procedure (“Rule”)

30(b)(3), but given the COVID-19 pandemic, the court reporter will not be

physically present with the witness whose deposition is being taken. The Parties

agree not to challenge the validity of any oath administered by the court reporter,

even if the court reporter is not a notary public in the state where the deponent

resides.

      8.     The court reporter will stenographically record the testimony, and the

court reporter’s transcript shall constitute the official record. The court reporter

may simultaneously videotape the deposition and preserve the video recording.

The court reporter may be given a copy of the video recording and may review the

video recording to improve the accuracy of any written transcript.

      9.     The Parties agree that the court reporter is an “Officer” as defined by

Rule 28(a)(2) and shall be permitted to administer the oath to the witness via the

videoconference. The deponent will be required to provide government-issued

identification satisfactory to the court reporter, and this identification must be
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legible on the video record.

      10.    The Party that noticed the deposition shall be responsible for

procuring a written transcript of the remote deposition. The Parties shall bear their

own costs in obtaining a transcript and/or video record of the deposition.

      11.    The Party that noticed the deposition shall provide the court reporter

with a copy of this Stipulation as soon as they are engaged to cover a deposition

and at least twenty-four hours in advance of the deposition.

      12.    At the beginning of each deposition, consistent with Rule 30(b)(5)(A),

any person responsible for video-recording the deposition, if applicable, shall

“begin the deposition with an on-the-record statement that includes: (i) the

officer’s name and business address; (ii) the date, time, and place of the deposition;

(iii) the deponent’s name; (iv) the officer’s administration of the oath or

affirmation to the deponent; and (v) the identity of all persons present.”

      13.    At the beginning of each segment of the deposition, consistent with

Rule 30(b)(5)(B), any person responsible for video-recording the deposition, if

applicable, shall begin that segment of the remote deposition by reciting (i) the

officer’s name and business address; (ii) the date, time, and place of the deposition;

and (iii) the deponent’s name.

      14.    The Parties agree to work collaboratively and in good faith with the

court reporter to assess each deponent’s technological abilities and to troubleshoot
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any issues at least 48 hours in advance of the deposition so any adjustments can be

made. The Parties also agree to work collaboratively to address and troubleshoot

technological issues that arise during a deposition and make such provisions as are

reasonable under the circumstances to address such issues. This provision shall not

be interpreted to compel any Party to proceed with a deposition where the

deponent or court reporter cannot hear or understand the other participants or

where the participants or court reporter cannot hear or understand the deponent.

      15.    Every deponent shall endeavor to have technology sufficient to appear

for a video-conference deposition (e.g., a webcam and computer or telephone

audio), and bandwidth sufficient to sustain the remote deposition. Counsel for each

deponent shall consult with the deponent prior to the deposition to ensure the

deponent has the required technology. In the case of third-party witnesses, counsel

noticing the deposition shall consult with the third-party witness in advance to

ensure the third-party witness has the required technology.

      16.    If lead counsel becomes inadvertently disconnected from the

deposition or experiences technical difficulties, that fact shall be noted on the

record as soon as the parties become aware and the deposition must immediately

be suspended until that attorney has full access to both audio and video.

      17.    If a deposition is suspended due to technical difficulties, the time

consumed by the suspension does not count toward any applicable time limitations.
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      18.    The Parties agree that this Stipulated Order applies to remote

depositions of non-parties under Rule 45, and shall work in a collaborative manner

in attempting to schedule remote depositions of non-parties. The Party noticing any

third-party deposition shall provide this Stipulated Order to counsel for any non-

party under Rule 45 within a reasonable time before the date of the deposition.

      19.    The Parties agree that any of the following methods for administering

exhibits may be employed during a remote deposition, or a combination of one or

more methods, provided that nothing herein prevents counsel noticing a deposition

from electing to utilize a less restrictive and/or less burdensome method of

distributing and administering exhibits:

             a.     Counsel noticing the deposition may choose to mail or hand

deliver physical copies of documents that may be used during the deposition to the

deponent, the deponent’s counsel, the other Parties’ counsel, and the court reporter.

In the event documents are mailed, noticing counsel shall so inform the deponent’s

counsel, the other Parties’ counsel, and the court reporter prior to mailing the

documents and shall provide tracking information for the package. Documents

mailed or hand delivered shall be delivered by 12:00 pm Mountain the business

day before the deposition. Counsel for the deponent, the other Parties’ counsel, and

the court reporter shall confirm receipt of the package by electronic mail to counsel

noticing the deposition. If physical copies are mailed or hand delivered, every
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recipient of a mailed or hand delivered package shall keep the package sealed until

the deposition begins and shall only unseal the package on the record, on video,

and during the deposition when directed to do so by the counsel taking the

deposition. This same procedure shall apply to any physical copies of documents

any other counsel intends to use for examining the witness.

             b.     Counsel noticing the deposition may choose to send exhibits

through any electronic means (including file share) to the deponent, the deponent’s

counsel, the other Parties’ counsel, and the court reporter, which shall be delivered

by 12:00 pm Mountain the business day before the deposition. If counsel noticing

the deposition seeks to ensure that the files will not be viewed prior to the

deposition, it may (but is not required to) password protect the files provided that

counsel taking the deposition shall supply the password via electronic email

immediately prior to the commencement of the deposition. Every recipient of a

password protected file(s) shall not open it until the deposition begins and when

directed to do so by the counsel taking the deposition. If sending documents by

electronic mail, counsel will be mindful of file size limitations, which

presumptively should be less than 25 MB. Any electronic transmission that is

returned undeliverable due to size requirements should be reduced in size and

resent immediately. The format of deposition exhibits submitted electronically

shall be PDF with page numbers and or bates numbers placed on the documents,
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unless any alternative format is disclosed 2 days prior to the deposition and agreed

upon by all counsel and the court reporter, to ensure the deponent and all Parties

have the ability to view the alternative format or to print hardcopies for use, and

for the court reporter to include in the official record.

             c.     Counsel may introduce exhibits that were not disclosed prior to

the deposition electronically during the deposition, by using document-sharing

technology or screensharing technology within the videoconferencing platform, or

by sending the exhibit(s) to the deponent and all individuals on the record via

electronic mail (unless they were transmitted earlier pursuant to Paragraphs 19b or

19c). All deponents receiving documents before or during a deposition shall return

the documents to the counsel who sent them originally, within two business days

following the completion of the deposition, or in the case of exhibits provided

electronically, shall destroy/delete them, and shall not retain them in any manner.

Counsel noticing the deposition shall include a pre-paid return shipping label in

any package of documents mailed to a deponent.
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      20.    Counsel for the Parties may keep any document or exhibit used during

the deposition.

Dated: December 17, 2020             By: /s/ Peter W. Ito
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Dated: December 17, 2020             By: /s/ Robert D. Lantz
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                                        Inc. and Bradley Sewell


                            [PROPOSED] ORDER

      PURSUANT TO STIPULATION, IT IS SO ORDERED.

Dated: _______________


                                     ______________________________
                                     R. Brooke Jackson, District Judge
                                     UNITED STATES DISTRICT COURT
